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UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT

DANIEL BANYAI, )
)
Plaintiff, )
)

v. ) Civil No, 2:23-CV-00101
)
TOWN OF PAWLET, )
JUDGE THOMAS §, DURKIN, and )
JOHN AND JANE DOE | through 20, )
Whose identities are unknown at present, )
)
Defendants, )

THE TOWN OF PAWLET’S OPPOSITION TO
MOTION TO AMEND THE COMPLAINT

The Town of Pawlet (the “Town”), by and through its attorneys, Carroll, Boe, Pell &
Kite, P.C., hereby files its Opposition to the Plaintiff's Motion to Amend the Complaint and in
support thereof states as follows:

MEMORANDUM OF LAW

Plaintiff seeks leave to amend his Complaint pursuant to Fed. R. Civ. P. 15(a)(2), which
directs that a court “should freely give leave when justice so requires.” “However, amendment is
not warranted in the case of futility.” Keene v. Schneider, 2007 U.S. Dist. LEXIS 63603, *3,
2007 WL. 2463270 (D. Vt. 2007); also Sacerdote v. New York Univ., 9 F.4th 95, 115 (d Cir
2021), “Futility is assessed based on the same standard as dismissal for failure to state a claim,
such that ‘leave to amend will be denied as futile only if the proposed new claim cannot
withstand a 12(b)(6) motion to dismiss for failure to state a claim.’” Rosen v. Pallito, 2015 U.S.
Dist. LEXIS 104088, *16 (d. Vt. 2015) (citing Milanese v. Rust—Oleum Corp., 244 F.3d 104,

110 (2d Cir. 2001).
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Here, leave to amend should be denied as futile because the proposed amendments cannot
withstand a motion to dismiss,

Discussion

Currently pending before this Court is the Town’s Motion to Dismiss on the following
grounds: (1) the Court lacks subject matter jurisdiction over the Complaint under the Rooker-
Feldman doctrine; (2) the Court should abstain from hearing the claims in the Complaint under
the Younger abstention doctrine, and (3) the claims asserted in the Complaint are precluded
under Vermont’s claim preclusion doctrine. See Doc. 15 and Doc. 18 (making argumenis).
Plaintiff filed his Motion to Amend shortly after he filed his opposition to the Town’s Motion to
Dismiss.' As a result, when he filed the Motion to Amend, Plaintiff was well aware of the
Town’s arguments in the Motion to Dismiss. Therefore, the overarching question for resolving
Plaintiff's Motion to Amend is, do Plaintiff’s proposed amendments cure the defects identified in
the Town’s Motion to Dismiss?

Close examination of the proposed amendments to the Complaint demonstrate that the
proposed amendments do not cure the jurisdictional defects imposed by the Rooker-Feldman and
Younger abstention doctrines and they do not circumvent Vermont’s claim preclusion bar.

Importantly, Plaintiff is noz trying to add any new claims or new relief to his Complaint.
The Proposed Amended Complaint asserts the same causes of action* and seeks the same relief?

as the Complaint does. In the Proposed Amended Complaint, as in the Complaint, Plaintiff asks

' Plaintiff's Opposition to MTD, Doc, 16 was filed on July 12, 2023; Plaintiff's Motion to Amend, Doc, 17
was filed on July 14, 2023.

2 Compare Complaint at {J 57-114 with Proposed Amended Complaint, ff 81-141 (stating same causes of
action),

3 Compare Complaint at “Prayer for Relief,” [J 1-8, with Proposed Amended Complaint, “Prayer for
Relief” at {J 1-8 (requesting same relief),
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this Court to review Vermont state court orders, to find those state court orders to be unlawful, to
nullify the state court orders that currently govern Plaintiffs conduct, and to interpose a federal
court order between Plaintiff and a Vermont state court seeking to enforce its own orders.’ The
new allegations merely add additional adornments to Plaintiffs pre-existing claims, They do not
change the underlying nature of the claims and/or the relief Plaintiff seeks, His central goal was
and remains reviewing and rejecting the state court orders issued by the Vermont Environmental
Court arising from the Town’s zoning enforcement action of NOV2.

Moreover, the bulk of the proposed amendments deo not allege specific conduct by the
‘Town but instead allege the conduct and relationships of persons who are not parties to this

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lawsuit. Plaintiff introduces a colorful “cast of characters,’ each of whom is purported to have

reasons to dislike Plaintiff and each of whom is purported to have exerted some unspecified
political or social influence over the “Town” or unnamed “town officials’® for the purpose of
persuading the Town to unfairly target Plaintiff in the state enforcement action,’

This fanciful concoction of rumor, innuendo, and conspiracy theory lacks the key
ingredient of actual allegations of Town conduct.

To survive a motion to dismiss, a complaint must contain sufficient factual matter,
accepted as true, to "state a claim to relief that is plausible on its face." [Bell Ad.
Corp. v. Twombly, 550 U.S. 544,] 570, 127 S, Ct. 1955, 167 L. Ed, 2d 929. A
claim has facial plausibility when the plaintiff pleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged. /d., at 556, 127 S. Ct. 1955, 167 L. Ed. 2d 929. The
plausibility standard is not akin to a “probability requirement," but it asks for
more than a sheer possibility that a defendant has acted unlawfully. Jbid. Where a
complaint pleads facts that are "merely consistent with" a defendant's liability, it

* Complaint at “Prayer for Relief,” { 1-5.
> Proposed Amended Complaint at § 17~19.
§ Proposed Amended Complaint at { 8, 4 31, { 66, 7 73, 7 79 (referencing unnamed “town officials”),

? See Proposed Amended Complaint at ff] 17-19, § 21, 4 62-173, 4] 92, | 100, 7 120 (identifying the “cast
of characters” and alleging their purported influence on Town conduct).

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“stops short of the line between possibility and plausibility of ‘entitlement to
relief." /d@., at 557, 127 S. Ct. 1955, 167 L, Ed. 2d 929 (brackets omitted).

... [Where the well-pleaded facts do not permit the court to infer more than the
mere possibility of misconduct, the complaint has alleged--but it has not
"show[n]"--"that the pleader is entitled to relief." Fed. Rule Civ. Proc. 8(a)(2).

Asheroft v. Iqbal, 556 U.S, 662, 678-679, 129 8, Ct. 1937, 1949-1950 (2009).

Here, the proffered allegations regarding Plaintiff's colorful “cast of characters” do not
add anything of substance to Plaintiff's claims regarding the Town itself, The allegations merely
insinuate that Plaintiff's “cast of characters” had some unspecified and unstated influence on
Town action; the proposed amendments do not identify any specific factual linkage between the
antipathies of the nonparties and Town conduct, These allegations concerning non-party conduct
could not “nudge [Plaintiff's] claims across the line from conceivable to plausible” and therefore
would not survive a motion to dismiss, Bel] Ail, Corp. v, Twombly, 550 U.S. 544, 570, 127 8. Ct.
1955 (1974). Adding these allegations to the Complaint would therefore be futile.

The proposed amendments that do involve specific allegations of Town conduct still
primarily focus on the Town’s conduct during the selective enforcement action. The Proposed
Amended Complaint, like the current Complaint, alleges that the Town has “aggressively
enforced” NOV2 “throughout the underlying zoning enforcement proceeding.” Proposed
Amended Complaint at { 17. Consistent with this overarching framework, the new allegations of
specific conduct by the Town involve the Town’s efforts to enforce its zoning regulations during
the zoning enforcement proceeding in Vermont Environmental Court; the proposed amendments

do not allege specific Town conduct occurring before the initiation of the state enforcement

8 Proposed Amended Complaint at ¥ 9, | 75, J 102, 7 103, J 166, 7 177 (alleging Town sought and obtained
a writ of mittimus for Plaintiff’s arrest to compel Plaintiff's compliance with Court orders); see also J] 78-80
(alleging Town conduct in response to Plaintiff's present lawsuit) and { 61 (alleging Judge Durkin granted a writ of
mittimus and imposed $106,000 in fines).
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action,’ These proffered allegations of Town conduct are similar in kind to the existing
allegations in the Complaint, and that similarity only further emphasizes the extent to which
Plaintiffs primary goal in this federal action is to overrule and nullify the existing Vermont state
court orders that currently govern Plaintiff's use of the Property.

That Plaintiff's continuing focus on appealing the Vermont Environmental Court’s orders
to this federal court is also evident from the proposed amendment that focuses on newly issued
orders of the Environmental Court.'” Because the proffered amendments regarding Town
conduct still ask this Court to review and reject the state court orders that issued through the
Vermont enforcement action, the amended pleading would still be subject to the Rooker-
Feldman doctrine, and this Court would still lack subject matter jurisdiction over the claims for
all the reasons already provided in the Town’s Motion to Dismiss (Doc. 15 at 3-6) and the
Town’s Reply Memorandum (Doc, 18 at 3-4). Plaintiff's proposed amendments should not alter
this Court’s conclusion in its Opinion and Order that Rooker-Feldman applies to Plaintiffs
claims. Opinion and Order, Doc, 11 at 8-9.

Accordingly, the Town respectfully requests this Court deny leave to amend on the
ground that the proposed amendment would be futile because the Rooker-Feldman doctrine
would apply to Plaintiff’s amended claims and this Court would therefore lack subject matter
jurisdiction over them. #.g., Brady v, IGS Realty Co, L.P., 2021 U.S. App. LEXIS 28669, *7,
Fed. Appx. _, 2021 WL 4302737 (2d Cir, 2021) (“Because the Rooker-Feldman doctrine

deprived the district court of subject matter jurisdiction ... the problem with [the claims] is

° The one potential exception is an allegation that lists alleged non-enforcements, which are apparently
intended to provide Plaintiff with potential comparators for purposes of asserting his Equal Protection Claim, See id,
at J 76 (alleging Town has failed to enforce zoning regulations in connection with other properties), This allegation
is not dated with any specificity.

10 Proposed Amended Complaint at J 61 (alleging that, on July 6, 2023, Judge Durkin imposed fines
against Plaintiff totaling $106,000, with such fine constituting a lien on the Property”).

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substantive, and better pleading will not cure it.”); Marshall v. Hanson, 2015 U.S. Dist. LEXIS
39568, *27-28, 2015 WL 1429797 (D, VT. 2015) (denying leave to amend as futile because
proposed amendments would be barred by Rooker-Feldman doctrine and “better pleading will
not cure those deficiencies”); Jamil v. State Judicial Admin,, 2014 U.S. Dist. LEXIS 202096, *7
(D. Vt. 2014) (denying leave to amend because Rooker-Feldman applied and “as any amendment
would be futile given the insurmountable jurisdictional bar.”),

The proffered allegations of Town conduct also do nothing to cure this Court’s
determination that the Younger abstention doctrine applies to Plaintiff's claims. Opinion and
Order, Doc. 11 at 9~13. In the Proposed Amended Complaint, as in the Complaint, Plaintiff still
asks this Court to interfere with Vermont court orders that involve important state interests—
both the Town’s interest in enforcing its zoning regulations and the Vermont Environmental
Court’s interest in ensuring party compliance with its orders. #.g., Juidice v. Vail, 430 U.S, 327,
335-336, 97S, Ct. 1211, 1217-1218 (1977) (civil contempt orders represent an important state
interest); Ken-N_K., Inc. v. Vernon Twp., 18 Fed. Appx. 319, 324, 2001 U.S. App. LEXIS 19453,
* 11-12 (6" Cir. 2001); JMM Corp. v. District of Columbia, 378 F.3d 1117, 1126-1127 (D.C, Cir.
2004); Pervu v. City of Oneonta, 2020 U.S. Dist. LEXIS 57564, *13, 2020 WL 1643392
(N.D.N.Y. 2020); Novie v. Vill. of Montebello, 2012 US. Dist. LEXIS 115948, *37-38, 2012
WL 3542222 (S.D.N.Y. 2012) (collecting cases). Accordingly, the Younger abstention doctrine
still applies,

To the extent that Plaintiffs colorful account of his cast of characters’ evil motives is
intended to demonstrate bad faith on the part of the Town and lift his claims out of the Younger
abstention doctrine, the effort misses the mark. As already discussed above, Plaintiffs reliance

on a stew of rumor, innuendo, hearsay, and gossip without any direct factual linkage to Town
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conduct do not provide any plausible evidence of bad faith on the part of the Town. The Town
also discussed this issue in the Town’s Reply in further support of its Motion to Dismiss, in
direct response to Plaintiff's attempt there to demonstrate bad faith by interposing the allegations
he presents here as proposed amendments. See Opposition, Doc. 17 at 16-18, 22-23 (arguing
evidence of bad faith based on same allegations); Reply, Doc, 18 at 6-8 (responding to Plaintiff's
bad faith argument). The Town hereby respectfully requests that the Court consider that
argument here, incorporated by reference, Reply, Doc. 18 at 6-8, and reject any suggestion of the
Town’s bad faith.

Because the Younger abstention doctrine applies to Plaintiff's proposed amendments and
because the proposed amendments do not demonstrate the “bad faith” that would lift Plaintiff's
claims out of Younger abstention, the Town respectfully requests this Court deny leave to amend
as futile because the Court would need to abstain from hearing the claims asserted in the
Proposed Amended Complaint. L.g., Thurston v. Cotton, 2015 U.S. Dist. LEXIS 92195, *8-12
(D. Vt. 2015) (denying leave to amend because Younger abstention would apply to proposed
amendments); Burke v, Toor, 2014 U.S. Dist. LEXIS 162582, *4-5, 2014 WL 6471414 (D. Vt.
2014) (same),

Finally, Plaintiffs proposed amendments do nothing to cure the fact that Vermont's
claim preclusion doctrine would still bar his claims. The basis for applying Vermont’s claim
preclusion doctrine to the Complaint is fully discussed in the Town’s Motion to Dismiss. See.
Motion to Dismiss, Doc. 15 at 7-12, The argument asserted there applies equally here.

As already noted, Plaintiff’s proposed amendments do not change the nature or substance
of his claims; the proposed amendments only attempt to add additional detail. Despite the

proposed amendments, the claims asserted in the Proposed Amended Complaint would still arise
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from the “same nucleus of facts”! that are “related in time, space, origin, or motivation”!? and
focus on the same substantive issues, namely, the Town’s issuance of NOV2; Plaintiff's failure
to appeal NOV2; Plaintiff's subsequent failure to comply with NOV2; the Town’s initiation of
the state proceeding to enforce NOV2; the Vermont Environmental Court’s issuance of a March
5, 2021 Decision on the Merits; Plaintiff's appeal of the Merits Decision; Plaintiffs failure to
comply with the Merits Decision, even after the Vermont Supreme Court affirmed it; the Town’s
request for an order holding Plaintiffin contempt for failing to comply with the Mertis Decision;
and the Vermont Environmental Court’s February 8, 2023 issuance of the Contempt Decision.
The proposed amendments—which add allegations of imposed fines and the issuance of a writ of
mittimus for Plaintiff's arrest—do not change the fact that, under Vermont law, Plaintiff's claims
in the Proposed Amended Complaint are “the same of substantially identical” to the claims
addressed in the underlying enforcement action and are therefore barred by Vermont claim
preclusion.

Moreover, at each step of the long and tortuous process just recounted—which was
extended largely by Plaintiff's own “willful”' and “perhaps enthusiastic”> ignorance of the
Vermont Environmental Court’s orders-—Plaintiff had the opportunity to present in Vermont
courts the claims he presents here. Indeed, Plaintiff did assert some of these claims in Vermont

state court and lost; Plaintiff could have asserted the others but he did not, Vermont claim

"" Bilewicz v. Town of Fair Haven, 2022 Vt, Unpub, LEXIS 15, *5, 2022 WL 424881 (Vt. 2022)

'2 Demarest v. Town of Underhill, 2021 VT 14, P14, 214 Vt. 250, 256-257, 256 A.3d 554, 559; Faulkner v.
Caledonia County Fair Ass'n, 2004 VT 123, 13, 178 Vt. 31, 56, 869 A.2d 103, 109.

4 Faulkner v, Caledonia County Fair Ass'n, 2004 VT 123, 8, 178 Vt, 51, 54, 869 A.2d 103, 107; Berlin
Convalescent Ctr. v. Stoneman, 159 Vt. 53, 56 (1992).

'4 Contempt Decision, Doc, 1-2 at 25.
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preclusion applies to all claims that could or should have been brought in a prior action, and
Plaintiff's present claims could and should have been brought in Vermont State Court. The
proposed amendments do not add any additional claims that could not have been asserted earlier.
For this reason, the Town respectfully requests this Court deny leave to amend as futile on the
ground the proposed amendments would be barred by Vermont’s claim preclusion.
Conclusion

Plaintiff's proposed amendments would not change the claims or relief Plaintiff seeks in
the Complaint. Under Rooker-Feldman, this Court would lack subject matter jurisdiction to hear
Plaintiff's claims, even as amended. Even if Rooker-Feldman did not apply, this Court should
abstain from hearing those claims, even as amended, under the Younger abstention doctrine.
Finally, even if Rooker-Feldman or Younger did not bar this Court’s consideration of Plaintiff's
claims, Plaintiff's claims—even as amended—would be barred under Vermont’s claim
preclusion doctrine. For all these reasons, the proposed amendments to Plaintiffs Complaint are
futile, and the Town of Pawlet respectfully requests this Court deny Plaintiff leave to amend his
Complaint on that ground.

Respectfully submitted this 28" day of July 2023.

CARROLL, BOE, PELL & KITE, P.C.

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